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            inman

                                                                                      Welchert




                                                                        Want more value
                                                                   v.     value
                                                                                okerage?




                    BROKERAGE

                    Compass agrees to share its
                    exclusive listings, with 2 caveats
                    Compass said 'twill share Its 6K-plus exclusive listings With brokerages aces multiple listing
                    services, as long as they don alter or monetize listings— or share listings with platforms Noe AO




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                                                                                                 SHORE •       f        to      in
                    July 113025®

                       Avid estate is changing fast, and o musty.. InmanConnect San Diego s where             inn.. G..,
                       gal turn uncert rtry into strategy — with r sulfa',A real tools and the connections
                       that matter. eons, serious about staying ahead of theme, this is w          you
                       no d to be. Register_

                       Compass made a surprise move onPrig, sayingit will stye its exclusive
                       inventory with any brokerage end multiplelisting services (HIS).

                       However... NYC based brokerage Got has fiercely championed private listing
                       network. said its offer comes with two conditions: the brokerage or EELS agrees
                       not to alter or monetize the homeowners listings in any way keeping the listing
                             front melees., and the brokerage or MLS can ensure agents won't be
                       fined or banned for sharinglistings with the brokerage or NEES.

                       'There are narratives circulating that make false
                       accusations" a Compass spokesperson told Imamof the
                       decision, .By showing th. we willmake our exclusive
                       inter.,     available to anyone who agrees not to alter or
                       monetize the listing and keep thelisting, agent front and
                       no., we reinforce what we have said all along:.
                       Compass, we co-broke witheveryone,                                Compass CEO Rob
                                                                                         Reffkin
                       Compass said its exclusive inventory has been;lisle to
                       agents from competingbrokerages since Keay through its Compass Pointe
                       Exclusive Book Agents can access the book virtually as physically through one-
                                appointments witha Compass broker. With this update, brokerages
                       get access s to exclu awe inventory., through a direct feed or dire. access to its
                       system's listings, while Arta win get access through a direct reeds

                       Brokerages and MLS. that went access to Compass's exclusive inventory, which           unmans
                       currently includes 5,545 listings, cannot participate in the monetization of
                       listing, data nor sharelisting, data with a platform that does

                       Monetizationincludes the sale ofleads sodlisting data to third-party entities,
                       namely the practice ors., homebuyer leads to agents for a referral fee —
                       direct hit,.Zillow, which the
                                                   brokerage has sued.

                       Compass filed theIna in the U.S. District Court in the Southern District of
                       Nees York on June 23, claiming Zillow's ban on certainlistings is an
                        "anticompetitive Out,to protect its monopoly andrevenues.'

                       In a response, Zillow said tubas is about protecting market transparency and
                       ensuringhomebuyers can findbrokers Shut represent their interests. aloes
                       further argued Compass's push for private listingnetworks 'erects hauliers' and
                       nester a more cumbersome experience for buyers and sellers.

                       Compass has also requested a s ul• • y kijunction to stop Meow from
                       enactingitsbeughowmr, the court los,.      make a decision t no sliou the
                       request

                       ,finsohomeowners are imamate that qaeir listing data f met entire thira-party
                       lausinesse' a spokesperson toldInman this weeks . 1komplu °Enos...fixation
                       are... advertising thirdsparty comp,. soh              'Outings En, Renfie•
                       and sellinglisting&tato a wide range of fusancial Mons,      inelnelinglesanks
                       andhedge Onsets Home sale details are packaged with ethcW64c re..ds and
                       used to Innlelproducts Oath., hedge f noels, end institutional landlords use
                       to buy or finance properties,


                       Read next

                         • tour neutreferrad source is already     your phone
                         • Haw being a successful agent is like being a Broadway producer

                         • Wither eye on Esture ineestits, Compass formally repudiates CCP Suletter to NAB.,
                           treSs
                         • Dart•Asins onCompass, Zillow madreel estate 'Armageddon'



                       Mee     l ee does not include comunssions for non-Compass buyer age, ea                Rend Heat
                       spokesperson said, undone's. Compass 'fully supports        es • with
                       bur., Agents noel compassating them fortheir role Su atratuattiime
                                                                                                                                             ••
                       Nest Comps,. said brokerages and boys cannot alter listings and cannot share
                       listings with aril...rm.. dues. Alterations, nosording to the brokerage,
                       incluele                   points like climate risks automatedvaluations and           II             Ge..        wit
                       other Men-Bally negative insights. IikedsP on market Listing agents must also          in             ...on.
                       remain 'front eminent,' the...SP..,                                                                   neon.

                       "5 tt we want is to give sellers Ste choicein how they market -their homes and
                       prottet them from the risk ornegative insights Klee ei.S.on musket soar...
                       price drops, as well as therisk of their listings being sok', portals to buyer                        ise.a
                       agents who desk lusow-Gae property sod Got Zillow men, to sell sway from the           NI
                       PestsetetS• a Ce opus sPukestsessees said
                                                                                                              nossumessonsen.
                         lestrequirement for accessi,Compass's exclusive inventory is to "ensue                LTAttrii•:i=`          ••••••••••••••
                       ~mtsmn'be fused or banned for sharinglistings wins Ose iseukuusge ue

                       Inmanpreviously reported th. Compass has saidit wonq complywith the
                       National Association of Realtors' Gies: Gcoperation Policy (GBP). NKR doesn't
                       directly require liestinglarokers to follow its rules, nor does it punishbrokers who
                       dor, Howes., local andRealtor,Misted Mists Got adopt NARA,. rules me
                       fuse or suspend MIS subscribers (e.g.Esti, agents) for siolatiems.

                       A brokerage spolenqs.on...Inver       questions on what 'OGG orassurance,
                       legellybiuding or usIse.ii es expecting frombrokerages andMISS regarding
                       fuses end bens.
Case 1:25-cv-05201-JAV     Compass's       Document 51-20
                                                      is part of an ongoing battle over listing data —who                 Filed 07/17/25   Page 3 of 4
                           owns it, how it's disseminated and, mort of all, how it's monetized

                           The latest iteration of this beetle has unfolded since Meech when NAR
                           introduced the Multiple Listing Options for Sellers (MLOS)
                           a delayed marketing exemption for sellers who went. postpone thepublic
                           marMg of their                       an Internet Data Exchange 0.0 feed.

                           MLOS, which           alongside CCP, was offered to appease industry players on
                           both sides of the public and private marketing debate, however, the battle has
                           only intensified since MLOS's introduction,     Compass and Zillow       horns
                           over which approach is actually in the best interest of consumers

                              the heart of this issue is a simple principle: When a. listing is publicly
                           marketed, it should be accessible. all buyers —across all platforms, including
                           Z.," the portal said in a previous Inman article. "Hiding listings creates a.
                           fragmented market, limits consumer choice and creates barriers
                           homeownership, which is bed for buyers, sellers mat, industry at lame,
                           especially in thisixthis inventory and affordability-constrained. environment,

                           A Compass spokesperson told Inman this week its offer should clarify the
                           brokerage,

                           "The purpose of a homeowner', listing is to sell their home, not to generate
                           money for MISs and portals," the spokesperson said "If stakeholders won't.
                           agree to stop altering and moneti, a homeowner's listing, they're showing
                           they care more about making money from the homeowners' list ings than
                           helping homeowners sell their homes,

                           Compass CEO Robert Reffkin said in •                              brokerages and MISs should
                           contact him at robert@compass.com

                           Email It1-era McPherson


                           rants Comp.                     s matt                   MLS test I portal... I Robert Reffkin.,




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                                  fib                          their financial    reports.




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               Compass asks judge to MOM,      With an eye.. future lawsuits,           Dwiggins on Compass, Zillow    Competing philosophies,
               Zillow's ban on publicly        Compass formally repudiates              and real estate Armageddon     exclusive listings and the
               Marketer" 'Monte listings       Garin..? to NAR and MLSs                                                consumer trust tipping point




               Mare in Brokerage

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               Has this Austin MIS solved'     Century 21 CEO on rethinking             How to get buyers. sigma       Why legacy 'Multi be reel
               Me private listings
               conundrum?
                                               Me inventory challenge                   buyer-broker agreement (and
                                                                                          actually thank
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                                                                                                                       business builder




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